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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

JAMES WHITE, #316659,                    )
                                         )
             Plaintiff,                  )
                                         )
       v.                                )      CASE NO. 1:20-CV-775-WKW
                                         )                [WO]
DEPUTY GRIMSLEY,                         )
                                         )
             Defendant.                  )

                                     ORDER

      Plaintiff, an inmate confined at the Ventress Correctional Facility, recently

initiated this 42 U.S.C. § 1983 action challenging actions which occurred during his

confinement at the Houston County Jail. Prior to service of the complaint, Plaintiff

filed a Motion to Withdraw in which he seeks dismissal of this case. (Doc. # 4.)

The motion is CONSTRUED as a Notice of Voluntary Dismissal.

      Under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, voluntary

dismissal by a plaintiff is permitted “before the opposing party serves either an

answer or a motion for summary judgment . . . .” Such dismissal is “without

prejudice.” Fed. R. Civ. P. 41(a)(1)(B). Accordingly, Plaintiff’s action against

Defendant has been dismissed without prejudice by operation of Rule 41(a)(1).

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 27th day of October, 2020.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
